Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 1 of 31

AO lOé(Rev. 04/10) Application foraSearch Warrant EE :l ! E a §

 

UNITED STATES DISTRICT CoURT AUG 17 2017
for the clark, u.s. mistrial a aankruprcy
District of Columbia Courts for the District ot Co|umb|a

In the Matter of the Search of

(Briefly describe the properly lo be searched
or idemijj/ the person by name and address)

|NFORMAT|ON ASSOCIATED WlTH THE EMA|L
ACCOUNTS rgates@dmpint.com AND
kkitimnik@dmpint.com THAT IS STORED AT PREN||SES
CONTROLLED BY RACKSPACE US, |NC.

APPLICATION FOR A SEARCH WARRANT

I, a federal law enforcement officer or an attorney for the govemment, request a search warrant and state under
penalty of perjury that 1 have reason to believe that on the following person or property (idemlfy the person or describe the

property to be searched and give its Iocation):

Case: 1117-mj-00612

Assigned To : Howel|, Beryl A.

Assign. Date : 8/17/2017

Description: Search and Seizure Warrant

\/WVVV

See Attachment A
located in the Western District of Texas , there is now concealed (idenzr'j§v zhe

person or describe the property lo be seized)l
See Attachment B

The basis for the search under Fed. R. Crim. P. 41(c) is (check one or more):
d evidence of a crime;
dcontraband§ fruits of crime, or other items illegally‘poss.essed;
d property designed for use, intended for use, or used in committing a crime;
13 a person to be arrested or a person who is unlawfully restrained.

The search is related to a violation of:

Code Section O/j”ense Description
18 U.S.C. 371 Conspiracy
18 U.S.C. 1001 False Statements
et al. See attached Aftidavit
The application is based on these facts:
See attached Affidavit.

g Continued on the attached sheet.
CI Delayed notice of days (give exact ending date if more than 30 days: j j a ¢_ ) is requested
under 18 U.S.C. § 3103a, the basis of which is set fo

   

ReViCWCd by AUSA/SAUSAZ /l/);)'/ic'rml'.\' signalure
_ _pecia| Agent, FB|
' Printed name and title

Sworn to before me and signed in my presence.

Date: lzézég/fu/ ;z‘_i-Z)/?' /`,;///¢ /M

Judge ‘s signature

 

 

l-lon. Bery| A. |-lowell, Chief U.S. District J_udger

Prinled name and !il[e

City and state: WaShinngn. D.C.

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 2 of 31

FFLED

IN THE UNITED STATES DISTRICT coURT m AUG ’ 7 2017
FoR THE DISTRICT 0F CoLUMBIA cof,','§ ,‘{,'rsr‘hglgrirsrtcz § san
f C of C

IN THE MATTER or THE sEARCH oF C . _ _ .
INFORMATION ASSOCIATED WITH THE A :;;h;g ;On."g 00612
EMAIL ACCOUNTS rgaces@dmpim.com Assign Date-_ 871\';</9£6|137%'| A.
AND kklllmnlk@dmpmt.com THATARE Descriptjon: S'earch and 8 `
sTORED AT PREMiSEs coNTRoLLED elzufe Warram

BY RACKSPACE US, INC.

 

AFFIDAVIT IN SUPPORT OF AN
APPLICATION FOR A SEARCH WARRANT

I, _ being duly sworn, hereby depose and state as follows:

MD_IM

A~ M

1.._ . I am a Special.Agent With Federal.Burea\roflnvesti.gation (‘FEBI??) working directly
with the Special Counsel’s Offlce. I have been a Special Agent with the FBI since 2015. I have
training and experience related to foreign intelligence services and national security investigations
as well as federal financial crimes. Prior to my employment with the FBI, I spent seven years in
the software industry and have extensive experience working with computer technology

2. This affidavit is based upon my personal knowledge, my review of documents and
other evidence, my conversations with other law enforcement personnel, and my training and
experience Because this affidavit is being submitted for the limited purpose of establishing
probable cause, it does not include all the facts that I have learned during the course of my
investigation Where the contents of documents or the statements and conversations of others are

reported herein, they are reported in substance and in pertinent part, except where otherwise

indicated.

kfllpf(,'_y
Olumbla

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 3 of 31

B. The Sub|`cetrAcenunts

3. l make this affidavit in support of an application for a search Warrant pursuant to
18 U.S.C. § 2703, for information and all content associated with (l) the email address
rgates@dmpint.com (the “Gates Account”), and (2) the email address kkilimnik@dmpint.com (the
“Kilimnik Account”), stored at premises owned, maintained, controlled, or operated by Rackspace
US, Inc. (hereinafter, “Rackspace”), an email provider headquartered at 1 Fanatical Place, City of
Windcrest, San Antonio, TX 78218 (collectively, the “Subject Accounts”). The information to be
searched is described in the following paragraphs and in Attachment A. Upon receipt of the
information described in Attachment A, government-authorized persons will review that
information to locate the items described in Attachment B.

4. The Gates Account is believed to be controlled by Richard W. Gates III, also known
as Rick Gates, in connection With his employment at DMP International, LLC. (“DMP”). Gates
is a United States citizen. In addition to his work at DMP and affiliated entities, he played a role
in the campaign of Donald J. Trump for President, Inc., (the “Trump Campaign”) and Worked on
the inauguration.

5. DMP Was a lobbying and political consulting firm, and was owned and controlled
by Paul J. Manafort, Jr., a United States citizen. As further described beloW, in March 2016,
Manafort officially joined the Trump Campaign.

6. The Kilimnik Account is believed to be controlled by Konstantin Kilimnik in
connection with his Work at DMP. In an interview with the FBI in 2014, Gates identified the
principals of DMP as Manafort, himself, and Konstantin Kilimnik, and he indicated that Kilimnik
Was a Russian citizen Who lived in Ukraine and worked on the day-to-day operations of

lDl\/IP. Gates indicated that Kilimnik had worked for Manafort-related entities since before 2006.

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 4 of 31

C. The Subject Offenses

7. F or the reasons detailed below, there is probable cause to believe that the Subject
Accounts contain evidence, fruits, and instrumentalities of violations of: 31 U.S.C. §§ 5314,
5322(a) (failure to file a report of foreign bank and financial accounts); 22 U.S.C. § 611, et. seq.
(foreign agents registration act); 26 U.S.C. § 7206 (filing a false tax return); 18 U.S.C. § 1001
(false statement); 18 U.S.C. §§ 1341, 1343, and 1349 (mail fraud, wire fraud, and conspiracy to
commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money laundering and money laundering
conspiracy); and 18 U.S.C. §§ 371 and 2 (conspiracy, aiding and abetting, and attempt to commit
such offenses) (collectively, the “Subject Offenses”).

D. The Provider

8. I have learned the following about the Provider:

a. The Provider offers email services to the public. In particular, the Provider allows
a subscriber to maintain email accounts under any domain name under the subscriber’s control.
For example, if a subscriber controls the domain name “xyzbusiness.com,” the Provider enables
the subscriber to host any email address under this domain name (e.g., iohn@xyzbusiness.com}
on servers operated by the Provider. A subscriber using the Provider’s services can access his or
her email account from any computer connected to Internet.

b. The Provider generally maintains the following,records and information With respect
to every subscriber account:

i. Email contents. In general, email (which can include attachments such as
documents, images, and videos) sent to or from a subscriber’s account, or stored in draft form in
the account, is maintained on the Provider’s servers unless and until the subscriber deletes the

email. If the subscriber does not delete the email, it can remain on the Provider’s computers

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 5 of 31

indeflnitely. Even if the subscriber deletes the email, it may continue to be available on the
Provider’s servers for a certain period of time.

ii. Address Book. The Provider also allows subscribers to maintain the
equivalent of an address book, comprising email addresses and other contact information of email
users.

iii. Subscriber and billing information. The Provider collects and maintains
(typically unverified) identifying information about each subscriber, including for example, name,
username, address, telephone number, and alternative email addresses The Provider also
maintains records concerning the date on which the account was created, the Internet protocol
(“IP”) address of the user at the time of account creation, the current status of the account (e.g.,
active or closed), the length of service, and the types of services utilized by the subscriber.
Additionally, for paying subscribers, the Provider maintains records of the subscriber’s means and
source of payment, including any credit card or bank account number, In circumstances where the
Provider’s services are accessed through a reseller, the subscriber and billing information may be
that of the reseller instead of the ultimate subscriber, but such information regarding the ultimate
subscriber may be present in the content of the email account.

iv. Transactional information The Provider also typically retains certain
transactional information about the use of each account on its system. This information can include
records of login (l'.e., session) times and durations and the methods used to connect to the account
(such as logging into the account through the Provider’s website).

v. Preserved and backup records. The Provider also maintains preserved copies
of the foregoing categories of records with respect to an account, for at least 90 days, upon

receiving a preservation request from the Government pursuant to 18 U.S.C. § 2703(f). The

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 6 of 31

Provider may also maintain backup copies of the foregoing categories of records pursuant to its
own data retention policy. A preservation request was sent to Rackspace for the Gates and
Kilimnik Accounts in June and August of 2017.

JURISDICTION

9. Pursuant to § 2703(a), (b)(l)(A), and (c)(l)(A), the Government may require a
provider of an electronic communications service or a remote computing service, such as the
Provider, to disclose all stored content and all non-content records or other information pertaining
to a subscriber, by obtaining a warrant issued using the procedures described in the Federal Rules
of Criminal Procedure.

10. This Court has jurisdiction to issue the requested warrant because it is “a court of
competent jurisdiction” as defined by 18 U.S.C. § 2711. Id. § 2703(a), (b)(l)(A), and
(c)(l)(A). Specifically, the Court is “a district court of the United States . . . that has jurisdiction
over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).

l 1. When the Government obtains records under § 2703 pursuant to a search warrant,
the Government is not required to notify the subscriber or any other person of the warrant, for such
a period as the Court deems appropriate, where there is reason to believe that such notification will
seriously jeopardize an investigation 18 U.S.C. § 2705(b).

PROBABLE CAUSE

12. As set forth herein, there is probable cause to believe that the Subj ect Offenses have
been committed by Gates, Manafort, and others known and unknown and further, that evidence,
contraband, fruits, and/or instrumentalities of violations of the Subject Offenses may be found in

the Subject Accounts. As discussed below, Manafort and Gates, as part of their work for DMP,

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 7 of 31

served as a lobbyists and political consultants for the Party of Regions, a Ukrainian political party
commonly believed to be aligned with Russia. That work included activities in the United States.
There is probable cause to believe that Manafort, Gates, and others engaged in a scheme to hide
connections to the Party of Regions and to hide income paid on behalfof Ukrainian politicians and
others, through foreign bank accounts in Cyprus and elsewhere, to and on behalf of Gates and
Manafort and related people and companies

A. Manafort and Gates Work for Ukraine

13. As noted above,-ates have been employed for many years through
DMP and related entities as lobbyists and political consultants working both in the United States
and internationally. Beginning in or about 2006 and at least until 2014, Manafort provided political
and policy services to the Ukrainian Party of Regions, including Viktor Yanukovych, head of the
Party of Regions and the President of Ukraine from 2010 to 2014. Gates told the FBI in an
interview in July 2014 (“the Gates Interview”) that he was hired by Manafort in 2006 and worked
on Ukrainian election and policy advice, up to the time of the interview. Gates advised that in

2010, he and Manafort were in Ukraine for over two months leading up to the election that brought

 

 

14. As part oftheir work on behalfofthe Party of Regions, Gates, Manafort, and DMP

engaged two U.S. lobbying and political consulting firms: _
and _. As described below, emai|s previously produced

to the Department ofJustice, including emails involving the Subject Accounts, evidence work by

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 8 of 31

DMP, through Gates and Manafort, on behalf of the Party of Regions in the United States, together
with individuals associated with both the _

15. A search of the United States Department of Justice database of all agents currently
or previously registered under FARA, conducted in July 2017, also discloses that Manafort, Gates,
and their affiliated entities, including DMP, failed to register as agents of a foreign government
until June 27, 2017.' As long-time lobbyists, Manafort and Gates would know about the FARA
requirements lndeed, as set forth in greater detail below, in email communications between Gates
(using the Gates Account) and the _ concerning joint Ukraine work, Gates
demonstrated that he was clearly aware in 2012 of FARA filing rules.

1. Payments from Cypriot Accounts to and for Manafort

16. From in or about at least 2008 to at least 2014, payments from bank accounts in
Cyprus - nominally owned by foreign companies - were used to make payments to (a) United
States corporate and personal bank accounts controlled by Manafort or Gates and (b) United States
vendors for services provided to Manafort or Gates, During this time period, tens of millions of
dollars from these foreign accounts were paid directly2 and indirectly to Manafort, Gates, and

Manafort-related entities.

 

Company Bank Name Account # Transaction Example

 

 

to an account in the name
of DMP lntemational,
LLC at HSBC Bank.

On or about June 27,
Telmar Bank of
lnvestments Cyprus PCL _
Limited Ltd

 

 

 

 

 

 

2014, $250,000 was sent
' The database is publicly available at litt[)s://www.l`ara.gov/.

2 The term “directly” is used to differentiate the “indirect” payments made to vendors that provided
services to Manafort, Wires from Cypriot accounts that were sent to various Manafort entities
such as DMP would at various times be passed through more than one United States account
affiliated with Manafort before being used to pay for business expenses as well as other items.

 

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 9 of 31

 

 

 

 

 

 

 

 

 

 

Marf`ln

 

 

name of Davis Manafort

 

Company Bank Name Account # Transaction Example
On or about September 2,
2010,$1 million was sent
to an account in the name
of Global Sites LLC at
Yiakora Bank of Wachovia Bank.
Ventures Cyprus PCL _ On or about June 4, 2008,
Limited Ltd $8 million was sent to an
account in the name of
Jesand Investment
Corporation at First
Republic Bank.
Cyprus On or about November 9,
. Popular Bank 2012, $300,000 was sent
Lucicle . ,
Consultams (Previously _ to an account 1n the name
Limited Marfm of DMP International,
Popular LLC at JPMorganChase
Bank) Bank.
§;]p;llj:r Bank On or about August l,
Actinet p . 2012, $70,000 was sent to
. (Prevlously .
Tradlng ~Mhrt.m ~ ~ » an account m the name of
Limited PO ular DMP Intemational, LLC
p at JPMorganChase Bank.
Bank)
Cyprus On or about December
Popular Bank 21, 2011, $l million was
Black Sea (Previously sent to an account in the
View Limited Marfm _ name of Paul J Manafort
Popular and Kathleen B Manafort
Bank) at First Republic Bank.
Cyprus On or about April 10,
. Popular Bank 2012, $900,000 was sent
Bletllla . .
Vemures (Prevlously _ to an account m the name
Limited Mari`m of DMP Intemational,
Popular LLC at JPMorganChase
Bank) Bank.
§g'p;lll:r Bank On or about January 30,
. p . 2009,$70,000 was sent 10
Evo Holdmgs (Prevlously . h f
Limited Marnn an account m t e name o
PO ular Davis Manafort Partners,
p Inc. at Wachovia Bank.
Bank)
G|Obal Cyprus On or about December
. Popular Bank 23, 2009, $500,000 was
nghway . .
L. . (Prevlously sent to an account m the
imlted
8

 

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 10 of 31

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

Company Bank Name Account # Transaction Example
Popular Partners, Inc. at
Bank) Wachovia Bank.
Cyprus On or about May 27,
. Popular Bank 2011, $258,000 was Sent
Levtathan . . h
Advisors (Prevlously to an account m t e name
Limit d Marfin of Davls Manafort
e Popular Partners, Inc. at First
Bank) Republic Bank.
Cyprus On or about October 7,
Popular Bank 2010, $120,000 was sent
Loav . .
Advisors (Prevlously to an account m the name
Limited Marfin of Paul J Manafort and
Popular Kathleen B Manafort at
Bank) Wachovia Bank.
Cyprus On or about June 27,
. Popular Bank 2012, $650,000 was sent
Lucicle . . h
Consultams (Previously _ to an account m t e name
Limited Marfin of DMP Internatlonal,
Popular LLC at JPMorganChase
Bank) Bank.
Cyprus On or about February l,
Popular Bank 2012, $1.5 million was
Peranova . .
Holdin 8 (Previously sent to an account m the
Limite§ Marfin name of DMP
Popular International, LLC at
Bank) First Republic Bank.
On or about January l6,
Te|mar 2014, $500,000 was sent
Eurobank _
lnvestments C ms Ltd to an account m the name
Limited yp of DMP International,
LLC at HSBC Bank.
On or about April 8, 2013,
Actinet He]lenic Bank $200,000. was sent to an
Tradmg PCL Ltd account m the name of
Limited DMP lnternational, LLC
at HSBC Bank.
On or about March l,
Bletilla . 2013, $300,000 was sent
Hellenlc Bank .
Ventures PCL Ltd to an account in the name
Limited of Symthson LLC at
JPMorganChase Bank.
Lucic|e He"em.c Bank On or about February 15,
Consultants _ 2013, $500,000 was sent
. . PCL Ltd .
Limited to an account m the name
9

 

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 11 of 31

 

 

Company Bank Name Account # Transaction Example
of Symthson LLC at
JPMorganChase Bank.

 

 

 

 

 

 

l7. The FBI has obtained bank records that evidence that Manafort controlled and/or
held executive positions at the following United States entities, which received tens of millions of
dollars from the above-listed financial accounts in Cyprus between at least 2008 to at least 2014:

(1) Davis Manafort Partners, Inc.;

(2) DMP International, LLC;

(3) Global Sites LLC; and

(4) Jesand Investment Corporation.3
Bank records also reflect that Gates held signature authority over the account in the name of
Symthson LLC.“ Correspondent bank records further show that between approximately 2008 and
2013, he separately received more than a million dollars from the Cypriot accounts in accounts
held in his name, including at least one foreign account.

18. In addition, bank records evidence that millions of dollars were wired directly from
the Cypriot accounts to pay vendors for goods and services provided to and for Manafort, For
instance, funds from these foreign accounts were used to renta villa in ltaly at which the Manaforts

vacationed (over $49,000); to pay for rugs from an Alexandria store called J & J Oriental Rugs

 

3 Jesand Investment Corporation was incorporated in Virginia in 2002 and dissolved in 2013. lt
lists its addresses as Manafort’s addresses in Alexandria, Virginia and Palm Beach Gardens,
Florida. Per “CS l,” a long-term em lo ee of various Manafort-related entities, the name “Jesand”
is an amalgam ofManafort’

 
   
 

4 Smythson LLC was incorporated in Delaware in 2008. Note that bank accounts for this company
were opened under the name “Symthson,” using addresses listed for Manafort in other of his
companies

10

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 12 of 31

(over $360,000); to pay for landscaping services for the Manaforts (over $395,000); and to pay
two separate clothiers (Alan Couture and House of Bijan) for clothing purchased by Manafort
(over $400,000 and $360,000 respective|y). The records for one of the clothiers - Alan Couture
- evidence that Manafort was aware of and controlled these foreign wire payments, as he noted to
the vendor in two spring 201 l emails that the vendor would be paid shortly from the Leviathan
Holdings Cypriot account, noted above.

19. _Gates have both told the FBl in interviews in 2014 that they were

paid for their work for the Ukrainian Party of Regions through Cypriot bank accounts.-

 

-In the Gates lnterview, Gates admitted he was directed to open accounts in Cyprus

by President Yanukovych’s Chief of Staff Boris Kolesnikov. He was told it was easier for them
to be paid from one Cyprus account to another Cyprus account. Gates said that various oligarchs
would chip in to pay them for their consulting work. Gates identified Lucicle, Bletilla, Leviathan,
and Global Endeavor (among others) as accounts opened to receive such payments

20. In addition, in 2014 Manafort wrote to the First Republic Bank, a United States
financial institution, to object to the bank’s determination to close all the Manafort-related
accounts based on its ami-money laundering policies and concerns about incoming international
wires. In his correspondence to the bank, Manafort admitted he was paid by Ukraine but he
claimed that the money he received from Ukraine was for “very public consulting services” from

“legitimate activities that were totally |egal.” Manafort also wrote the bank that he had “[n]o

ll

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 13 of 31

interaction with oligarchs for business.”

A court-authorized search

in May 2017 of a storage locker in Virginia used by Manafort revealed _
_ Finally, in the Gates Interview, Gates admitted

that Manafort met with another oligarch, Dmitry Firtash, to discuss a New York real estate

transaction they would undertake together and to pitch other ideas. _

 

   

2._ Manafort and Gates Tax Returns
21. 'l`here is probable cause to believe that Manafort failed to properly disclose to the
United States government his relationship to the Ukrainian Party of Regions and the income he
received (directly or indirectly) as a result ofhis work for that party. Further there is evidence of
Gates’ involvement in these offenses For example, and as discussed below, Gates was in contact

with Manafort’s and DMP’s accountants relating to the company’s and Manafort’s taxes.

 

5 John llannah, LLC was located at the same address as DMP -m
_ and received mail there. The company a so receive mar att e

Manafort home in Florida.

     

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 14 of 31

22. Further, there is probable cause to believe that both Gates and Manafort failed to
properly disclose the existence of foreign accounts in which they held a financial interest. Pursuant
to a tax order from the Eastern District of Virginia (Buchanan, J.) dated April 14, 2017, the FBI
has obtained and reviewed, among others, the tax returns for Manafort and Gates for 2009-2014.
ln all of the tax returns, Manafort and Gates submitted a Schedule B form, which required them to
declare whether they have “an interest in or a signature or other authority over a financial account
in a foreign country, such as a bank account, securities account, or other financial account.” Each
year, Manafort and Gates declared “No.” That same form also contained a cross-reference to the
requirement to file a Report of Foreign Bank and Financial Accounts (FBAR) to report overseas
financial interests or signature authority. An FBAR filing is required, on a yearly basis, if a United
States person has a financial interest in or signatory authority over at least one financial account
located outside the United States and at least $10,000 in aggregate value in foreign accounts at any
time during the calendar year. As discussed above, there is probable cause to believe that Manafort
and Gates had a financial interest, in excess of $10,000, in various accounts in Cyprus in at least
2008-2014. A review of data from the Financial Crimes Enforcement Network (commonly known
as FinCEN) shows that Manafort and Gates have not filed an FBAR for at least the years 2008 to
the present.

23. In addition, the foreign source income listed in the tax returns for Manafort does
not appear to account for the above distributions to or from the Cypriot accounts on his behalf.
For instance, the 2009 Manafort tax return indicates $17,736 in gross foreign source income; in
2010, $42,789; in 2011, $165,871; in 2012, $129,777; in 2013, $38,375; and in 2014, 839,468.

24. The bank records, however, reveal the following:

13

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 15 of 31

0 In 2008, the Cypriot accounts transferred at least $3,500,000 to accounts in the joint
names of Paul and Kathleen Manafort, and transferred at least $9,000,000 to
accounts of United States entities affiliated with Manafort,

¢ In 2009, the Cypriot accounts transferred at least $1,500,000 to accounts in the joint
names of Paul and Kathleen Manafort, transferred at least $35,000 to accounts in
the names of Manafort’s relatives, transferred at least $3,000,000 to accounts of
United States entities affiliated with Manafort, and transferred at least $200,000 to
accounts of third parties as payment for the benefit of Manafort.

0 ln 2010, the Cypriot accounts transferred at least $2,000,000 to accounts in the joint
names of Paul and Kathleen Manafort, transferred at least $_80,000 to accounts in
the names of Manafort’s relatives, transferred at least $_6',000,00_0 to United States
entities affiliated with Manafort, and transferred at least $600,000 to accounts of
third parties as payment for the benefit of Manafort.

» In 2011, the Cypriot accounts transferred at least $1,800,000 to an account in the
joint names of Paul and Kathleen Manafort, transferred at least $30,000 to an
account in the name of a Manafort relative, transferred at least $3,000,000 to an
account of a United States entity affiliated with Manafort, and transferred at least
$500,000 to accounts of third parties as payment for the benefit of Manafort,

0 In 2012, the Cypriot accounts transferred at least $200,000 to an account in the joint
names of Paul and Kathleen Manafort, transferred at least $8,500,000 to accounts
of United States entities affiliated with Manafort, and transferred at least

$1,000,000 to accounts of third parties as payment for the benefit of Manafort.

14

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 16 of 31

0 ln 2013, the Cypriot accounts transferred at least $2,500,000 to accounts of United
States entities affiliated with Manafort and transferred at least $1,000,000 to
accounts of third parties as payment for the benefit of Manafort,

v ln 2014, the Cypriot accounts transferred at least $5,000,000 to accounts of United
States entities affiliated with Manafort,

25. There appears to be no legitimate business reason for these transactions, which
appear to pass funds from a Ukrainian political party through more than one Cypriot bank
account; have payments made directly to United States vendors from the Cypriot accounts; and
pass money brought onshore from Cyprus through multiple United States accounts. Based on
my training and experience, these transactions evidence in my view the crimes of tax evasion
and money laundering to conceal the origins of the funds paid to Manafort and Gates,

B. Use of the Subject Accounts

l. The Gates Account

26. There is probable cause to believe that the Gates Account will contain evidence,
fruits, and instrumentalities of the Subject Offenses, including emails that Gates sent and received
concerning work performed on behalf the Ukraine Party of Regions, as well as correspondence
relevant to various tax offenses. This assessment is based on a variety of emails, including those

sent and received by the Gates Account submitted to the Department of Justice’s FARA Unit by

th

 

15

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 17 of 31

28. ln April 2012, there were a series of emails, produced by th- in
which -a lawyer from -, and Gates (using the Gates Account)

discussed the engagement by the European Centre For a Modern Ukraine (ECFMU) and the need

to file FARA forms.

it respect tot e entre, an apparent re erence tot e

 

16

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 18 of 31

 

 

ln forwarding the message to Gates noted,

_ In irs June 2017 FARA nling, DMP disclosed a “10/30/12 Email to Ambassaaor

-‘egarding U.S. statement on Ukrainian elections” as political activity performed on

behalf of the Party of Regions.

 

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 19 of 31

34. Additionally, there were ‘

 

35. Gates also used the Gates Account to communicate with the accountants who
prepared the tax returns for Manafort, DMP, and various other Manafort entities. For example, on
or about December 16, 2011, an accountant at Kositzka, Wicks and Company (“KWC”) who
represented Manafort and DMP on tax matters emailed Gates at the Gates Account, copying another
KWC accountant, with the subject, “Summary of 12.15.1 l conference call.” The email included
an outline of issues related to the personal finances of Manafort, as well as the finances of DMP
and other Manafort-related entities, including references to a “Ukraine Presidential Advisor fee,” a
contract with a Russian NGO, and a purported loan to Yiakora - one ofthe Cypriot account holders
discussed above.

36. On January 4, 2012, the same KWC accountant emailed Gates at the Gates Account,
copying another KWC accountant, with the subject “Summary of 12.21.1 l tax planning meeting.”

The text of the email contained a summary of various financial information related to DMP,

18

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 20 of 31

Manafort, and his other entities. The accountant indicated that once Gates “approve[d] the
summary, we will forward it to Paul for his review.”

37. On September 5, 2013, the same KWC accountant emailed Rick Gates at the Gates
Account, copying others at KWC, and asked a serious of questions relating to various business
issues at DMP, Manafort’s personal expenses, and professional services including Foreign Meals
and Entertainment and net income.

38. On September 16, 2013, Gates, using the Gates Account, emailed accountants at
KWC Who represent Manafort and DMP on tax matters. The subject of the email was “DMP,” and
under attachments, the following appears: “2012 E-File Forms ~ DMP Intemational, LLC-

signed.pdf”. ln the body of the email, Gates writes “Please confirm you have this received. l

believe this is the last return. Thanks, Rick.”

    

2. The -Account

40. There is also probable cause that evidence, fruits, and/or instrumentalities of the
Subject Offenses will be found on the - Account, including evidence related to work by
DMP on behalf of the Party of Regions. As noted above, Gates told the FBl in a 2014 interview
that Kilimnik worked for Manafort-related entities since before 2006 and worked on the day-to-

day operations of DMP in Ukraine.

41 . Documents obtained from- show that the-A

copied on a number of emails related to work by Manafort, Gates,

purportedly on behalf of the ECFMU. For example, on or about-n

19

   

CCOUl‘lt WaS

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 21 of 31

 

- Based on open sources, l know that Mykola Azarov was the Prime Minister of Ukraine

at the time, as well as a leader in the Party of Regions.

     
   
 

43. On or about was copied, among other

accounts, on an email from

 

45. The _ is also likely to have records related to payments from the

Party of Regions to DMP relevant to the Subject Offenses. ln 2014, Gates told the FBI that

20

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 22 of 31

Kilimnik’s job was to interact with party members, i.e., members of the Party of

Regions. Manafort also told the FBI in 2014 that Kilimnik and Gates were in charge of collecting

and tracking all monies coming in for Manafort’s services. Further, there is evidence that-

used -o communicate directly with Manafort and Gates about the business of

DMP and its work on behalf of Ukraine. For exam le, documents roduced b

 

ADDITIONAL INFORMATION REGARDIN'G RACKSPACE EMAIL

46. In my training and experience, I have learned that Rackspace provides a variety of
on-line services, including electronic mail (“email”) access, to the public and its corporate
customers. During the registration process, Rackspace asks subscribers to provide basic personal
information Therefore, the computers of Rackspace are likely to contain stored electronic
communications (including retrieved and unretrieved email for Rackspace subscribers and
information concerning subscribers and their use of Rackspace services, such as account access
information, email transaction information, and account application information, ln my training
and experience, Such information may constitute evidence of the crimes under investigation
because the information can be used to identify the account’s user or users.

47. ln my training and experience, email providers generally ask their subscribers to
provide certain personal identifying information when registering for an email account. Such
information can include the subscriber’s full name, physical address, telephone numbers and other

identifiers, alternative email addresses, and, for paying subscribers, means and source of payment

21

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 23 of 31

(including any credit or bank account number). In my training and experience, such information
may constitute evidence of the crimes under investigation because the information can be used to
identify the account’s user or users. Based on my training and my experience, l know that, even
if subscribers insert false information to conceal their identity, this information often provides
clues to their identity, location, or illicit activities

48. In my training and experience, email providers typically retain certain transactional
information about the creation and use of each account on their systems. This information can
include the date on which the account was created, the length of service, records of log-in (i.e.,
session) times and durations, the types of service utilized, the status of the account (including
whether the account is inactive or closed), the methods used to connect to the account (such as
logging into the account via the provider’s website), and other log files that reflect usage of the
account. In addition, email providers often have records of the Internet Protocol address (“IP
address”) used to register the account and the IP addresses associated with particular logins to the
account. Because every device that connects to the Internet must use an IP address, IP address
information can help to identify which computers or other devices were used to access the email
account.

49. In my training and experience, in some cases, email account users will
communicate directly with an email service provider about issues relating to the account, such as
technical problems, billing inquiries, or complaints from other users. Email providers typically
retain records about such communications, including records of contacts between the user and the
provider’s support services, as well as records of any actions taken by the provider or user as a

result of the communications ln my training and experience, such information may constitute

22

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 24 of 31

evidence of the crimes under investigation because the information can be used to identify the
account’s user or users.

50. This application seeks a warrant to search all responsive records and information
under the control of Rackspace, a provider subject to the jurisdiction of this court, regardless of
where Rackspace has chosen to Store such information. The government intends to require the
disclosure pursuant to the requested warrant of the contents of wire or electronic communications
and any records or other information pertaining to the customers or subscribers if such
communication, record, or other information is within Rackspace’s possession, custody, or control,
regardless of whether such communication, record, or other information is stored, held, or
maintained outside the United States.6

51. As explained herein, information stored in connection With an email account may
provide crucial evidence of the “who, what, why, when, Where, and how” of the criminal conduct
under investigation, thus enabling the United States to establish and prove each element or
alternatively, to exclude the innocent from further suspicion. In my training and experience, the
information stored in connection with an email account can indicate who has used or controlled
the account. This “user attribution” evidence is analogous to the search for “indicia of occupancy”
while executing a search warrant at a residence. For example, email communications, contacts

lists, and images sent (and the data associated with the foregoing, such as date and time) may

 

6 It is possible that Rackspace stores some portion of the information sought outside of the United
States. ln Microsoft Corp. v. United States, 829 F.3d 197 (2d Cir. 2016), the Second Circuit held
that the government cannot enforce a warrant under the Stored Communications Act to require a
provider to disclose records in its custody and control that are stored outside the United States. As
the Second Circuit decision is not binding on this Court, l respectfully request that this warrant
apply to all responsive information_including data stored outside the United States-pertaining
to the identified account that is in the possession, custody, or control of Rackspace, The
government also seeks the disclosure of the physical location or locations where the information
is stored.

23

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 25 of 31

indicate who used or controlled the account at a relevant time. Further, information maintained
by the email provider can show how and when the account'was accessed or used. For example, as
described below, email providers typically log the Internet Protocol (IP) addresses from which
users access the email account, along with the time and date of that access. By determining the
physical location associated with the logged IP addresses, investigators can understand the
chronological and geographic context of the email account access and use relating to the crime
under investigation. This geographic and timeline information may tend to either inculpate or
exculpate the account owner. Additionally, information stored at the user’s account may further
indicate the geographic location of the account user at a particular time (e.g. , location information
integrated into an image or video sent via email). Last, stored electronic data may provide relevant
insight into the email account owner’s state of mind as it relates to the offense under investigation
For example, information in the email account may indicate the owner’s motive and intent to

commit a crime (e.g., communications relating to the crime), or consciousness of guilt (e.g.,

deleting communications in an effort to conceal them from law enforcement).

[Space intentionally left blank]

24

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 26 of 31

CONCLUSION
52. Based on the forgoing, l request that the Court issue the proposed search warrant.
53. Review of the items described in Attachment A and Attachment B will be
conducted pursuant to established procedures designed to address potential privileges
REOUEST FOR SEALING
54. In light of the confidential and highly sensitive nature of the continuing
investigation, l respectfully request that this affidavit and all papers submitted herewith be

maintained under seal until the Court orders otherwise.

Respectfully submitted,

  
   

en , u e u of lnvestigation

Subscribed and sworn to before me on this / y€y of August, 2017.

The Honorable Beryl A. l-lowel|
Chief United States District Judge

25

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 27 of 31

ATTACHMENT A
This warrant applies to information associated with the email accounts
rgates@dmpint.com and kkilimnik@dmpint.com that is stored at premises owned, maintained,
controlled, or operated by Rackspace US, Inc., 1 Fanatical Place, City of Windcrest, San Antonio,

TX 78218.

26

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 28 of 31

ATTACHMENT B

I. Information to be disclosed by Rackspace

To the extent that the information described in Attachment A is within the possession,
custody, or control of the Rackspace US, Inc. (hereinafter “the Provider”), regardless of whether
such information is stored, held or maintained inside or outside of the United States, and including
any emails, records, files, logs, or information that have been deleted but are still available to the
Provider, or has been preserved pursuant to a request made under 18 U.S.C. § 2703(f) on June 8,
2017, the Provider is required to disclose the following information to the government for each
account or identifier listed in Attachment A:

a. The contents of all emails associated with the account, including stored or preserved
copies of emails sent to and from the account, draft emails, the source and
destination addresses associated With eachremail,.the date and time at Wh-ich each
email was sent, and the size and length of each email;

b. All records or other information regarding the identification of the account, to
include full name, physical address, telephone numbers and other identifiers,
records of session times and durations, the date on which the account was created,
the length of service, the IP address used to register the account, log-in IP addresses
associated with session times and dates, account status, alternative email addresses

provided during registration, methods of connecting, log files, and means and
source of payment (including any credit or bank account number);

c. The types of service utilized;

d. All records or other information stored at any time by an individual using the
account, including address books, contact and buddy lists, calendar data, pictures,
and files;

e. All records pertaining to communications between the Provider and any person

regarding the account, including contacts with support services and records of
actions taken; and other identifiers, records of session times and durations, the date
on which the account was created, the length of service, the types of service utilized,
the lP address used to register the account, log-in lP addresses associated with
session times and dates, account status, alternative e-mail addresses provided
during registration, all other user names associated with the account, all account
names associated with the subscriber, methods of connecting;

27

Case 1:17-cr-OO201-AB.] Document 378-2 Filed 08/22/18 Page 29 of 31

H.

All search history or web history;
All records indicating the services available to subscribers of the accounts;

All usemames associated with or sharing a login IP address or browser cookie with
the accounts;

All cookies, including third-party cookies, associated with the user;

All records that are associated with the machine cookies associated with the user;
and

All telephone or instrument numbers associated with the Account (including MAC

addresses, Electronic Serial Numbers (“ESN”), Mobile Electronic Identity

Numbers (“MEIN”), Mobile Equipment ldentifier (“MEID”), Mobile Identification '
Numbers (“MIN”), Subscriber Identity Modules (“SIM”), Mobile Subscriber

lntegrated Services Digital Network Number (“MSISDN”), lnternational Mobile

Subscriber Identifiers (“IMSI”), or lntemational Mobile Equipment ldentities

(“IMEI”).

Information to be Seized by the Government

Records relating to violations of 31 U.S.C. §§ 5314, 5322(a) (failure to file a report of
foreign bank and financial accounts); 22 U.S.C. § 611, et. seq. (foreign agents registration act); 26
U.S.C. §7206 (filing a false tax retum); 18 U.S.C. §§ 1341, 1343, and 1349 (mail fraud, wire
fraud, and conspiracy to commit these offenses); 18 U.S.C. §§ 1956 and 1957 (money laundering
and money laundering conspiracy); 18 U.S.C. § 1001 (false statement) and_18 U.S.C. §§ 371 and
2 (conspiracy, aiding and abetting, and attempt to commit such offenses) (collectively, the “Subject
Offenses”), occurring on or after January l, 2006, including but not limited to:

a.

Evidence relevant to the locations and movements of, and communications
between, Manafort, Gates, or employees, agents, or clients of the same or their
companies;

Communications, records, documents, and other files involving Davis Manafort
Partners, Jesand Corporation, Global Sites Inc., Smythson LLC, John Hannah Inc.,
and/or DMP lnternational, LLC;

Communications between Manafort, Gates, and-

Any and all financial records for Paul Manafort Jr., Richard W. Gates lII, and
associated business entities, including but not limited to records relating to foreign
financial accounts and records relating to payments by or on behalf of any foreign
government, foreign officials, foreign entities, foreign persons, or foreign
principals;

 

28

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 30 of 31

e. Evidence relevant to any false statements, pretenses, representations, or material
omissions in connection with communications with the Department of Justice, the
lnternal Revenue Service, tax preparers, accountants, or banks;

f. Records relating to efforts by Manafort, Gates, or their affiliated entities, agents, or
representatives to conduct activities on behalf of, for the benefit of, or at the
direction of any foreign government, foreign officials, foreign entities, foreign
persons, or foreign principals, or any contacts or meetings with these parties;

g. Evidence relevant to any money, financing, position or thing of value being offered
or given to Manafort, Gates, and employees, agents, or clients of the same or their
companies;

h. Communications between, on behalf of, or concerning th
European Centre for a Modern Ukraine, or the Ukrainian ,
agents or representatives;

i. Evidence establishing the motive, capability, or willingness to commit the above-
referenced crimes, including but not limited to evidence indicating the account
owner’s state of mind as it relates to the crimes under investigation;

j. Evidence indicating how and when the account was accessed or used, todetennine
the geographic and chronological context of account access, use, and events relating
to the crimes under investigation and to the account owner;

k. The identity of the person(s) who created or used the account, including records
that help reveal the whereabouts of such person(s); and

l. Evidence relevant to identifying any other locations capable of storing electronic
data, financial accounts, or locations where any physical items may be stored under
the control of Manafort, Gates, their companies, or any coconspirators, along with
any password, account name or number, or other means of access to such accounts
or locations

29

Case 1:17-cr-00201-AB.] Document 378-2 Filed 08/22/18 Page 31 of 31

CERTIFICATE OF AUTHENTICITY OF DOMESTIC
BUSINESS RECORDS PURSUANT TO FEDERAL RULE
OF EVIDENCE Mflli

I, , attest, under penalties of perjury under the

 

laws of the United States of America pursuant to 28 U.S.C. § 1746, that the information contained
in this declaration is true and correct. l am employed by Rackspace, and my official title is

. l am a custodian of records for Rackspace, I state that each

 

of the records attached hereto is the original record or a true duplicate of the original record in the
custody of Rackspace and that l am the custodian of the attached records consisting of ’

(pages/CDs/kilobytes). l further state that:

a. all records attached to this certificate were made at or near the time of the
occurrence of_ the matter set forth, 7b,y, .or.from information transmitted by, a-personwith knowledge
of those matters;

b. such records were kept in the ordinary course of a regularly conducted business
activity of,Microsoft; and

c. such records were made by Rackspace as a regular practice.

l further state that this certification is intended to satisfy Rule 902(1 1) of the Federal Rules

of Evidence.

 

Date Signature

30

